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UNITED STATES OF AMERICA W_D_ ge YN, MEMPH!S

-vs- Case No. 2:02cr20191-1-D
TERRY BOWEN

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT
Upon motion of the Government, it is ORDERED that a detention hearing is set for
FRIDAY, JUNE 24, 2005 at 10:00 A.M. before United States Magistrate Judge Tu M. Pham in
Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Mernphis, TN. Pending this hearing, the defendant shall be held in custody by the United States

Marshal and produced for the hearing.
Date: June 23, 2005 /»/-_

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

llf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142($(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1`) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial ofEcer's own motion, if there is a serious risk that the
defendant (a) Will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
inj ure, or intimidate a prospective witness or juror.

This doct.ment entered on the docket sheet In co il nce
with sale 55 and/or 32rb) FHCrP on _?_.CQ_&&_." "

AO 470 (ElBS) Order of Temporary Detenhon

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Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
case 2:02-CR-2019l Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

John Thomas Tibbetts

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

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l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

